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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,


                  Plaintiffs,
                                                             Case No. 1:18-cv-00950-LO-JFA
          v.

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC,


                  Defendants.



                   COX’S OBJECTIONS AND COUNTER-DESIGNATIONS
                     TO PLAINTIFFS’ DEPOSITION DESIGNATIONS

                                     GENERAL OBJECTIONS

        Pursuant to the Court’s July 22, 2019 Pretrial Scheduling Order, ECF No. 223, the Federal

 Rules of Evidence, Federal Rules of Civil Procedure 26(a)(3) and 32, and the Local Rules,

 Defendants Cox Communications, Inc. and CoxCom, LLC (collectively “Cox”) submit their

 objections and counter-designations to Plaintiffs’ Deposition Designations (ECF No. 358).

 Following these general objections, Cox’s specific objections and counter-designations are

 attached hereto as Exhibit A.

        Cox’s counter-designations reflect deposition testimony Cox may offer into evidence at

 trial to the extent Plaintiffs are permitted to offer their designated testimony into evidence at trial.

 Cox reserves the right to challenge and object on any appropriate grounds to Plaintiffs’ use of any

 designated testimony at trial, including but not limited to any objections as to relevance and

 admissibility. Cox further incorporates all objections made to Plaintiffs’ exhibits during the course

 of the respective depositions. Cox’s specific counter-designations are not intended to waive Cox’s
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 right to counter other testimony that Plaintiffs designated or may designate. Certain of Cox’s

 counter-designations apply to multiple designations by Plaintiffs, and assertion of a counter-

 designation as to a specific designation by Plaintiffs is not exclusive or exhaustive.

        Additionally, Cox includes in its current designations testimony that may be subject to: (1)

 the Court’s ruling on Cox’s anticipated and forthcoming motions in limine; (2) the Court’s rulings

 on Plaintiffs’ and Cox’s pending summary judgment and Daubert motions; and (3) any further

 rulings, instructions, or actions by the Court relating to those orders and the underlying motions.

 Cox therefore reserves the right to amend its counter-designations and objections if appropriate in

 light of any of the Court’s forthcoming rulings.

        GENERAL OBJECTIONS WITH RESPECT TO CERTAIN DESIGNATED
                             TESTIMONY

        Cox objects to the entirety of Plaintiffs’ extensive designations of deposition and trial

 testimony from the separate litigation, BMG Rights Management (US) LLC v. Cox

 Communications, Inc., 1:14-cv-01611 (LO) (JFA) (“BMG”). Remarkably, Plaintiffs seek to

 introduce extensive deposition testimony from numerous witnesses from the BMG case while also

 designating extensive deposition testimony taken from those very same witnesses in this case. And

 this is not a matter of simply identifying impeachment material from prior sworn testimony;

 instead Plaintiffs’ BMG designations appear focused on duplicating testimony and increasing cost

 and prejudice in a manner utterly unsupported by the Federal Rules of Civil Procedure or Rules of

 this Court. Indeed, the facts, timeline, parties, 30(b)(6) topics, and counsel in BMG were largely

 different from that in the present litigation and, as such, Plaintiffs’ use of the BMG testimony is

 highly prejudicial and inadmissible under Fed. R. Civ. P. 32(a)(8).

        Plaintiffs’ extensive designation of testimony from a different case is a transparent attempt

 to double the time allotted for depositions in a single case, as Cox produced to Plaintiffs’ these

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 BMG transcripts prior to Plaintiffs’ depositions of these very same witnesses. Plaintiffs could have

 covered any appropriate issue or territory in the numerous depositions they took in the instant

 litigation of these very same witnesses. Plaintiffs could have readily examined and/or attempted

 to impeach those witnesses in this case with that prior testimony.1 Instead, Plaintiffs took these

 highly confidential depositions from another case and seek to insert them here—while already

 having had the opportunity of deposing them now twice each (and in one circumstance three

 times). Indeed, certain of these transcripts and the exhibits referenced within them, are designated

 Highly Confidential – Attorneys’ Eyes Only by Cox pursuant to the Protective Order in BMG. See

 Exhibit B. Cox objects to the use of these transcripts and exhibits as “documents and things

 exchanged during the [BMG] litigation,” which cannot be used in this case pursuant to

 the BMG Protective Order. See Exhibit B §6.2.2.

        Plaintiffs have designated extensive testimony from the following BMG transcripts, which

 Cox objects to in their entirety:

            •   June 5, 2015 deposition of Brent Beck;

            •   June 9, 2015 deposition of Randall Cadenhead;

            •   June 3 and 16, 2015 depositions of Matthew Carothers:2

            •   June 14, 2015 deposition of Sidd Negretti;

            •   May 20, 2015 deposition of Joseph Sikes;

            •   June 17, 2015 deposition of Linda Trickey;

            •   July 28, 2015 deposition of Roger Vredenburg;

            •   December 7, 2015 trial testimony of Roger Vredenburg;


 1
  Plaintiffs deposed all but one of these witnesses, Roger Vredenburg, in the instant litigation.
 2
  Plaintiffs designated three deposition transcripts from Matthew Carothers, two from BMG and
 one from this litigation.
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              •    June 6, 2015 trial testimony of Jason Zabek; and

              •    August 13, 2015 deposition of William Basquin.

        Cox additionally objects to Plaintiffs’ designation of testimony from the BMG trial, as it is

 not deposition testimony and is therefore not admissible under Federal Rule of Evidence 32(a)(8).

 Moreover, to the extent Plaintiffs seek to admit testimony from BMG under the Federal Rules of

 Evidence, as either a party admission, a prior inconsistent statement, or otherwise, doing so

 through “deposition designations” is palpably improper, and in light of the circumstances here

 highly prejudicial. Cox’s current counsel was not present at the depositions and the trial and did

 not have the opportunity to examine these witnesses, interpose objections, or otherwise defend the

 examinations, as it was able to with respect to the witnesses whose testimony has been designated

 from this case.

        Cox also objects to Plaintiffs’ designation of testimony from BMG as and to the extent it

 is cumulative of testimony from this case, whether presented through deposition designations or

 live testimony at trial. Cox additionally objects to Plaintiffs’ designation of testimony from BMG

 to the extent Plaintiffs have failed to establish that any witness whose testimony has been

 designated is unavailable, as required under the Federal Rules of Civil Procedure. Fed. R. Civ. P.

 32(a)(4).

             Out of an abundance of caution, Cox hereby additionally interposes specific objections

 to Plaintiffs’ designation of testimony from these BMG transcripts in addition to counter-

 designations. By doing so, Cox in no way waives, but expressly reserves, its objection to Plaintiffs’

 designations and their admission at trial. None of these transcripts should have been designated,

 and having to go through thousands of pages of testimony from BMG, has been an arduous and

 costly task for Cox but that cost is far less than the prejudice that Cox will endure should these


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 transcripts be considered when Plaintiffs have had the opportunity to depose these witnesses in

 this matter.

         Cox also objects in their entirety to Plaintiffs’ designation of deposition testimony by Jorge

 Fuenzalida, inCode Consulting’s 30(b)(6) designee, as irrelevant and wasteful under Fed. R. Evid.

 403 because the work inCode completed for Cox is not relevant to any of Plaintiffs’ claims in this

 litigation.

         Cox objects to Plaintiffs’ Deposition Designations subject to the following objection codes:


  Code         Objection                                              Rule
  ARG          Argumentative
  ASF          Assumes Facts Not in Evidence
  ATT          Attorney Argument; Not Evidence                        Fed. R. Evid. 103(c),
                                                                      602
  BEV          Best Evidence                                          Fed. R. Evid. 1002
  CP           Compound
  HSY          Hearsay                                                Fed. R. Evid. 802
  HYPO         Incomplete Hypothetical
  INC          Incomplete Document                                    Fed. R. Evid. 106
  IOT          Improper opinion testimony by a lay witness            Fed. R. Evid. 701
  LEG          Calls for Legal Conclusion
  LFN          Lacks Foundation                                       Fed. R. Evid. 602
  LPK          Lack of Personal Knowledge                             Fed. R. Evid. 602
  MIL          Subject to exclusion based on Cox’s anticipated
               motions in limine
  MSC          Mischaracterizes Prior Testimony or Exhibit
  NR           Nonresponsive
  PRJ          Probative value is substantially outweighed by a       Fed. R. Evid. 403
               danger of unfair prejudice, confusing the issues,
               misleading the jury, undue delay, wasting time,
               needlessly presenting cumulative evidence
  PRV          Attorney-client privilege, work product, limits on     Fed. R. Evid. 502
               waiver
  REL          Relevance                                              Fed. R. Evid. 401/402
  SCP          Beyond the scope of the witnesses’ testimony as a
               30(b)(6)
               designee
  SP           Calls for Speculation
  VA           Vague, Ambiguous, Overbroad, Confusing, Unclear
               as to time

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 Dated: October 7, 2019

                                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on October 7, 2019, a copy of the foregoing was filed electronically with the

 Clerk of Court using the ECF system, which will send notifications to ECF participants.



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